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                          IN THE UNITED STATES DISTRICT
                        COURT FOR THE NORTHER DISTRICT OF
                             ILLINOIS EASTERN DIVISION

DAN WILLIAMS,                                          )
                                                       )        Case No. 2020-cv-00073
               Plaintiff,                              )
vs.                                                    )        Hon. Franklin U. Valderrama
                                                       )
BOARD OF EDUCATION, CITY OF                            )
CHICAGO,                                               )        Jury Trial Demanded
                                                       )
               Defendant.                              )

                                       MOTION TO STAY

        Plaintiff, DAN WILLIAMS, by and through counsel, respectfully submits this motion to

stay. In support of this motion, Plaintiff states as follows:

        1.     Defendant moved to dismiss Plaintiff’s Fourth Amended Complaint and this

Court set a briefing schedule on the motion. In preparing Plaintiff’s response to Defendant’s

Motion to Dismiss, it has become apparent that, in the interests of judicial economy, as well as

principals of abstention, this matter should be stayed pending a final determination in the First

District Appellate Court in Williams v. Board, Case No. 1-21-1167.

        2.     Although Plaintiff raises claims of ADA discrimination and retaliation, First

Amendment Retaliation and several state law torts, his principal claims, and ultimate damages,

arise out of his employment termination from the Board. As Defendant notes in its motion,

Plaintiff did proceed through a due process evidentiary hearing and the Board ultimately

accepted the recommendation of the hearing officer to terminate Plaintiff’s employment.

        3.     On September 23, 2021, Plaintiff filed a Petition for Review to the Illinois

Appellate Court, appealing his termination. Although not all of the issues are identical, the final

determination of the First District Appellate Court may fundamentally impact the matter before
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this Court. A determination that the Board had legitimate, non-discriminatory reasons to

terminate Plaintiff’s employment would significantly undercut Plaintiff’s claims.

        4.      Plaintiff’s principal brief is due in the First District Appellate Court on August 15,

2022. It is unlikely the parties will receive a final determination from the court for at least six

months given further briefing as well as the court’s schedule.

        WHEREFORE, Plaintiff respectfully requests that this Court grant this Motion to Stay or

enter such further relief as it deems just.

                                                       Respectfully submitted,
                                                       DAN WILLIAMS


                                                       /s/ Deidre Baumann
                                                       _________________________
                                                       By:     One of His Attorneys
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